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10                                 IN THE UNITED STATES DISTRICT COURT

11                              FOR THE EASTERN DISTRICT OF CALIFORNIA

12                                            SACRAMENTO DIVISION

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       RALPH COLEMAN, et al.,                                     2:90-cv-00520 KJM-KJN (PC)
15
                                                  Plaintiffs, STIPULATION AND ORDER
16                                                            MODIFYING OCTOBER 13, 2015
                        v.                                    ORDER APPROVING PATIENT
17                                                            CENSUS AND WAITLIST CHARTS FOR
                                                              INPATIENT MENTAL HEALTH CARE
18     EDMUND G. BROWN JR., et al.,
19                                             Defendants. Judge Kimberly J. Mueller
20

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22           On August 21, 2015, the Court ordered the Special Master to work with the Coleman

23     parties to finalize draft templates to capture data concerning patient census and waitlists for

24     inpatient mental health care. ECF No. 5343. On September 29, 2015, the Special Master

25     submitted the finalized templates to the Court. ECF No. 5363. On October 13, 2015, the Court

26     entered an order approving the templates. ECF No. 5367. In October 2015, Defendants began

27     filing the monthly reports on inpatient mental health care.

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       Stip. And Order Mod. 10/13/15 Order Re Census & Waitlist Charts for Inpatient Mental Health Care (2:90-cv-
       00520 KJM-KJN (PC))
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 1           As previously reported to the Court, the memorandum of understanding between
 2     Department of State Hospitals (DSH) and California Department of Corrections and
 3     Rehabilitation (CDCR) for provision of inpatient mental health services has been updated. The
 4     memorandum of understanding, which was implemented on May 1, 2016, includes a new
 5     procedure for the referral of inmates for inpatient mental health treatment. Two of the court-
 6     approved templates, Defendants’ Psychiatric Inpatient Program Referral/Waitlist and CDCR’s
 7     Psychiatric Inpatient Programs Trends report, have been revised to reflect the new referral
 8     procedures required under the updated memorandum of understanding. Copies of two versions of
 9     the proposed revised template for Defendants’ Psychiatric Inpatient Program Referral/Waitlist are
10     attached as Exhibits A and B. The referral/waitlist report that will be filed beginning June 15,
11     2016, and monthly thereafter until such time as CDCR is able to report the location of the
12     program from which an inmate is endorsed for inpatient care is attached as Exhibit A. See
13     footnote 4 to Exhibit A. The final version of the monthly referral/waitlist report is attached as
14     Exhibit B. The proposed revised template for CDCR’s Psychiatric Inpatient Programs Trends
15     report is attached as Exhibit C.
16           The Special Master and Plaintiffs have agreed to the revised versions of the templates.
17     Accordingly, the parties, with the concurrence of the Special Master, stipulate as follows:
18           Beginning June 15, 2016, Defendants will file, along with Defendants’ Psychiatric Inpatient
19     Programs Census Report, the referral/waitlist and monthly trends report pursuant to this
20     stipulation and in the forms attached as Exhibits A, B, and C.
21           IT IS SO STIPULATED.
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       Stip. And Order Mod. 10/13/15 Order Re Census & Waitlist Charts for Inpatient Mental Health Care (2:90-cv-
       00520 KJM-KJN (PC))
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 1     Dated: June 14, 2016                                       Respectfully submitted,
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                                                                  Supervising Deputy Attorney General
 4

 5
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 6                                                                CHRISTINE M. CICCOTTI
                                                                  Deputy Attorney General
 7                                                                Attorneys for Defendants
 8

 9                                                                /s/ Michael W. Bien
                                                                  MICHAEL W. BIEN
10                                                                Attorney for Plaintiffs
11

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17                                                       ORDER

18           Pursuant to the foregoing stipulation, IT IS SO ORDERED.

19     DATED: Nunc pro tunc to June 15, 2016.

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                                                             UNITED STATES DISTRICT JUDGE
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       Stip. And Order Mod. 10/13/15 Order Re Census & Waitlist Charts for Inpatient Mental Health Care (2:90-cv-
       00520 KJM-KJN (PC))
